Case 2:21-cv-08561-RGK-MAR Document 1 Filed 10/29/21 Page 1 of 11 Page ID #:1

                                                                                   FILcD
        ~`.~-~-cv-~5~1-Kc~k ~IP~~
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA                                            Z~21 DC~' 29 AM I~~ 56
255 E TEMPE ST,LOS ANGELES,CA 90012
                                                                             l           ~~.    _r.
Complaint

Curtis Adler
Vs.
Elon Musk,
Space X
Plaintiff Curtis Adler, 2150 Pickwick Dr 2771, Camarillo,CA 93011 (805)392 0273
Defendants Elon Musk, 10911 Chalon Rd Los Angeles,CA 90077, 5845 Rr 14, Stargate, TX
78521 (310)497 7288
SpaceX, 1 Rocket Rd, Hawthorne,CA 90250(310)363 6000

I,the complainant in the case: state that the following is true. About the dates of July 27, 2019 to
October 25,2021 in the county ofLos Angeles in the United States District Of California the
defendants violated:
*Due to the advanced nature of the case: advanced nature being that satellite has not gone
through the process of law. Federal codes of the United States existing are inadequate when
describing satellite use therefore two codes were created.
1*Deprivation of seclusion with satellite
2*Deprivation of confidentiality with satellite
18 USC 245 Federally Protected Activities
88 USC 1801 Video Voyeurism
119 USC 2511 Interception and Disclosure of Wire, Oral, or Electronic Communications
Prohibited
47 USC 1038 False Information and Hoaxes
110A USC 2251 Interstate Stalking

Basis For Jurisdiction: Federal Question

Statement Of Claim
The claim in this proceeding is made in reliance on the following facts.
       Late August 2020, began a series of frightening encounters between C.Adler and E.Musk.
       E.Musk was furious about a secret relationship involving his baby's mother, Claire
       Boucher, a.k.a Grimes, and C.Adler. E.Musk approached C.Adler at confidential
       locations without consent which gave Adler a notion that he was being violated. E.Musk
       used SpaceX Satellites to persecute and keep tabs on as well. E.Musk several times
       threatened the use of guns and weapons against C.Adler. C.Adler attempts to contact law
       enforcement were denied through a phone invasion hack. This caused depression and
         Case 2:21-cv-08561-RGK-MAR Document 1 Filed 10/29/21 Page 2 of 11 Page ID #:2
i.`p`'.~,~~




                arixiety with suicide attempts. C.Adler received phone calls, text messages, and
                                                                                                   emails
               full of insults and degrading comments regarding his past life up to 17 years
                                                                                                back all
               captured by satellites without consent. Interest in C.Adle'sr life and liberty
                                                                                              has
               diminished since E.Musk began a barrage.
           2. E.Musk has even gone to the more extreme, sending people unkno
                                                                                      wn to C.Adler who
               also committed video voyeurism via satellites broadcast frequently to
                                                                                        threaten and
               slander. With the use of satellite E.Musk deprives C.Adler from immunities
                                                                                               secured by
              the constitution and laws. Irreparable injuries have been sustained. More
                                                                                            information will
              be provided during the trial.
          3. All C.Adler electronics such as cell phones and computers were
                                                                                  invaded so
              communications to law enforcement were denied and that data wouldn't
                                                                                           be stored.
          4. Private information and algorithms involving time and hygiene were
                                                                                       stolen by satellite
              when legitimate expectation of confidentiality was established.
          5. After May 6,2002 at the SpaceX Headquarters in the state of Califor
                                                                                      nia, Space X and
              CEO Elon Musk campaigned and advertised with deception regarding their
                                                                                              product
              capabilities. The satellite communication constellation system created by
                                                                                            E.Musk and
             SpaceX holds the undisclosed ability to capture and store images, actions
                                                                                           , and
             communications; public and private; inside and out. This does more than
                                                                                           threaten the life
             of C.Adler, due process is required. More information will be provided
                                                                                         during the trial.
     Particulars OfBreach
         1. Use of Satellites to locate, harass, and oppress C.Adler.
         2. Failure to disclose satellite constellation ability to capture images
                                                                                   and communications
             inside and out; public and private.
         3. Failure to gain permission from C.Adler to capture images and commun
                                                                                        ications with
             satellites.
        4. Failure to gain permission from.C.Adler when broadcasting images
                                                                                     and communications
             via satellites.
        5. Cyberbullying and Video voyeurism.
        6. Harassment
        7. Invasion of cell phones, computers, and cards by E.Musk against
                                                                                  C.Adler.
        8. Deprivation Of Seclusion With Satellite by E.Musk against C.Adler.
        9. Deprivation Of Confidentiality With Satellite by E.Musk against
                                                                                  C.Adler.
    As a result of actions by E.Musk, C.Adler is deprived of immunities
                                                                             guaranteed by the
    constitution and is irreparably injured, will continue to suffer losses,
                                                                             pains, and damages.

    Irreparable Injury
    C.Adler has been irreparably injured. C.Adler attempted suicide multipl
                                                                             e times after getting into
    a feud with E.Musk. E.Musk possessed an estimated 16 years of
                                                                    satellite image of C.Adler
    without consent. E.Musk used those images gathered to send a barrag
                                                                          e of hellish insults and
    ridicule to C.Adler. E.Musk attempted murder of C.Adler mental health
                                                                             with the sights of insults
 Case 2:21-cv-08561-RGK-MAR Document 1 Filed 10/29/21 Page 3 of 11 Page ID #:3




   and images of his life's depressing moments. C.Adler feels extremely oppressed knowing that the
   guaranteed privileges as United States citizen are not upholded. E.Musk stole information,
  programs, and algorithms with high worth and even block attempts to contact law enforcement
  and this caused C.Adler tremendous loss and injuries. Injuries sustained were of the highest level
  of mental anguish. C.Adler is handicapped by E.Musk unprocessed power which is powered by
  satellites. C.Adler is deprived ofseclusion and confidentiality secured by the constitution which
  is causing Irreparable and loss. More information will be provided during the trial.

 Relief
 C.Adler request that action take place to eliminate and prevent deprivation of constitutional
 immunities such as the right to be left alone and the right to be free from unwanted publicity.
 unpermitted image and communication capturing and broadcasting with satellite. C.Adler
                                                                                                seeks
 a list of those who access satellites. C.Adler is suffering injuries like severe depression and
                                                                                                 high
 anxiety with four attempts of suicide. C.Adler rights as a United States citizens continue to be
 violated everyday, injuries are irreparable. C.Adler request $74,000 in punitive damages. Losing
 income after the satellite theft ofinformation and algorithms involving time compensatory
 damages requested are $56,500. Without the relief damages are not sufficient. C.Adler doesn't
 not permit satellite broadcasting of his life. Upon the relief and damages requested being
 awarded C.Adler will be able to begin recovery.

 Certification and Closing
 Under Federal Rule Of Civil Procedure II, by signing below, I certify to the best of my
 knowledge, information, and belief that this complaint:(1)is not being presented for an improper
 purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of ligation;
(2)is supported by existing law or by a nonfrivolous argument for extending, modifying,
                                                                                             or
 reversing existing law:(3)the factual contentions have evidentiary support or, if specifica
                                                                                             lly so
 idenrified, will likely have evidentiary support after a reasonable opportunity for further
 investigation or discovery' and (4)the complaint otherwises complies with the requirements of
Rule II.

I agree to provide the clerk's office with any changes to my address where case related papers
may be served. I understand that my failure to keep a current address on file with clerk's office
may result in the dismissal of my case.




                                                                  )~~Z yf21
,--   Case 2:21-cv-08561-RGK-MAR Document 1 Filed 10/29/21 Page 4 of 11 Page ID #:4




       UNITED STATES DISTRICT COURT
       CENTRAL DISTRICT OF CALIFORNIA
       255 E TEMPE ST, LOS ANGELES,CA 90012

       CAUSE OF ACTION INTENTIONAL TORT

      Deprivation Of Seclusion With Satellite

      Satellite and its activity has not gone through the proc
                                                               ess of law. C.Adler is deprived of
      seclusion by E.Musk with a satellite network. C.Adler
                                                              is E.Musk's target on satellite because the
      relationship previously held with Claire Boucher,a.
                                                          k.a Grimes,Elon's son X AE V 12 mom, wife.
      Musk uses Space X Satellite to stalk Adler off grid.
                                                           Several times Musk betrayed laws of the US
      and approach Adler without no strings attached to it.
                                                             C.Adler told E.Musk everytime that it
      crosses his American protection of law to locate him
                                                            off grid. After these incidents C.Adler
      developed severe anxiety leading to suicide attempts.
                                                               E.Musk owes C.Adler damages in result
      of his illegal actions.

      Evidence Attachment
~'    Case
     "'°     2:21-cv-08561-RGK-MAR Document 1 Filed 10/29/21 Page 5 of 11 Page ID #:5




     UNITED STATES DISTRICT COURT
     CENTRAL DISTRICT OF CALIFORNIA
     255 E TEMPE ST, LOS ANGELES,CA 90012

     CAUSE OF ACTION INTENTIONAL TORT

     Deprivation Of Confidentiality With Satellite

     Satellite and its activity has not gone through the process of law. C.Adler is deprived of
     confidentiality by E.Musk with a satellite network. C.Adler became E.Musk's target on satellite
     because the relationship previously held with Claire Boucher,a.k.a Grimes,Elon's son X ~E A-12
     mom, wife. E.Musk has used satellite to steal information such as algorithms, codes, programs
     and e.t.c without consent. C.Adler has not permitted E.Musk to look over his shoulder via
     satellite and steal hard earn information. The losses of confidentiality C.Adler has endured
     entitled him to compensation.

     Evidence Attachment
~--   Case 2:21-cv-08561-RGK-MAR Document 1 Filed 10/29/21 Page 6 of 11 Page ID #:6
      ='~.




      UNITED STATES DISTRICT COURT
      CENTRAL DISTRICT OF CALIFORNIA
      255 E TEMPE ST, LOS ANGELES,CA 90012

      CAUSE OF ACTION INTENTIONAL TORT
      18 USC 245 FEDERALLY PROTECTED ACTIVITIES

      C.Adler cell phone was invaded by E.Musk who was able to block attempts to reach law
      enforcement. E.Musk also threatened C.Adler that seeking relief and justice wouldn't work out.
      C.Adler contemplated suicide and even had attempts because of the pressure the circumst
                                                                                                 ance
      hold.
Case 2:21-cv-08561-RGK-MAR Document 1 Filed 10/29/21 Page 7 of 11 Page ID #:7




UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
255 E TEMPE ST, LOS ANGELES,CA 90012

CAUSE OF ACTION INTENTIONAL TORT
88 USC 1801 VIDEO VOYEURISM

More information will be provided at trial.
~   Case
    ~.     2:21-cv-08561-RGK-MAR Document 1 Filed 10/29/21 Page 8 of 11 Page ID #:8




    UNITED STATES DISTRICT COURT
    CENTRAL DISTRICT OF CALIFORNIA
    255 E TEMPE ST, LOS ANGELES,CA 90012

    CAUSE OF ACTION INTENTIONAL TORT

    119 USC 2511 INTERCEPTION AND DISCLOSURE OF WIRE, ORAL, ELECTRONICS
    COMMUNICATIONS PROHIBITED

    More information will be provided at trial.

    Evidence Attachment
Case 2:21-cv-08561-RGK-MAR Document 1 Filed 10/29/21 Page 9 of 11 Page ID #:9




UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
255 E TEMPE ST, LOS ANGELES,CA 90012

CAUSE OF ACTION GENERAL NEGLIGENCE

47 USC 1038 FALSE INFORMATION AND HOAXES

 More information will be provided at trial.
      Case 2:21-cv-08561-RGK-MAR Document 1 Filed 10/29/21 Page 10 of 11 Page ID #:10




                                                          ac men



    C.Adler & C.Boucher at E.Musk residence
                 1 0911 Chalon
•~~~~VerizonLTE          7:22 AM                 780h~

  Back          Grime ~„ •:> ~t -                Contac
   wanna carne see i m au alone uy
   myself :q':.~

                                                   r,


   doesn't matter how long you take
   '
   I m waiting for you
                                                           ~ C.Adler was disrespected by E.Musk with
   10911 Chalon Rd                                         interception of communications and phone
   bst worse time ever never going to
                                                           invasion therefore more information wil l be
   see you again j~~l"~~
                                                                         provided at trial.
                          :~::. W =..:~:
  '
  I m rly not anywhere there another
  time w E so later

  think again

                rn~~. _~,~ _ _._ ~, i ,~.~ ~~~
Case 2:21-cv-08561-RGK-MAR Document 1 Filed 10/29/21 Page 11 of 11 Page ID #:11




 UNITED STATES DISTRICT COURT
 CENTRAL DISTRICT OF CALIFORNIA

 LETTER TO THE NDGE WHOM THE FOLLOWING CASE CONCERNS

 I, Curtis Adler, am a citizen of the United- States, deprived of the privilege to be free from
 unwarranted publicity that is supposed to be secured by the constitution and laws. After getting
 into a feud with CEO Elon Musk of SpaceX; I established that my legitimate expectation of
 confidentiality is out the window. My right to be left alone is being violated through the use of
 Satellites. The constitution and laws are tarnished because Satellites have not gone under a
 legitimate investigation and due process. The interest in my life and liberty has diminished
 because ofthe use of Satellites created by Elon Musk and SpaceX thus filling the requirement for
 the provision of due process so that relief and damages.




                                                                  ~ ~ ~l/
                                                                    y~~s ~~
